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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

KATERINA GEORGIOU, individually and on
behalf of all others similarly situated,
                                                            CIVIL CASE MANAGEMENT PLAN
                                              Plaintiffs,

                          v.                                Case No. 2:22-cv-02861-BMC

HARMON STORES, INC.,

                                         Defendant.


COGAN, District Judge

         After consultation with counsel for the parties, the following Case Management Plan is
adopted. This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure 16 and
26(f).

$       The case is to be tried to a jury.

%       Non-Expert Discovery:

               The parties are to conduct discovery in accordance with the Federal Rules of Civil
                 Procedure and the Local Rules of the Eastern District of New York. All non-expert
                 discovery is to be completed by , which date shall not be
                 adjourned except upon a showing of good cause and further order of the Court.
                 Interim deadlines for specific discovery activities may be extended by the parties
                 on consent without application to the Court, provided the parties are certain that
                 they can meet the discovery completion date.
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      2.     Joinder of additional parties must be accomplished by March 20, 2023.

      3.     Amended pleadings may be filed without leave of the Court until March 20, 2023.

&    For all causes of action seeking monetary damages, each party shall identify and quantify
      in Attachment B, annexed hereto, each component of damages alleged; or, if not known,
      specify and indicate by what date Attachment B shall be filed providing such information.

'    Motions:

           Upon the conclusion of non-expert discovery, and no later than the date provided
             below, the parties may file dispositive motions. The parties shall agree to a schedule
             and promptly submit same for the Court’s approval, providing for no more than
             three rounds of serving and filing papers: supporting affidavits and briefs, opposing
             affidavits and briefs, and reply affidavits and briefs.

           The last day for filing a letter, pursuant to Rule III.A.2 of the Court’s Individual
             Practices, requesting a premotion conference in order to file dispositive motions
             shall be .

             a.     There shall be no cross-motions. Any motions not made by the agreed date
                    shall, unless the Court orders otherwise, not be considered until after the
                    timely-filed motion is determined.

             b.     Papers served and filed by the parties shall conform to the requirements set
                    out in the Court’s Individual Practices.

E.   Any request for relief from a date provided in this Case Management Plan shall conform
      to the Court’s Individual Practices and include an order, showing consents and
      disagreements of all counsel, setting out all dates that are likely to be affected by the




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      granting of the relief requested, and proposed modified dates. Unless and until the Court
      approves the proposed order, the dates provided in this Plan shall be binding.

F.    Pre-Trial Motions:

      1.     Applications for adjournments and for discovery or procedural rulings will reflect
             or contain the positions of all parties, as provided by the Court’s Individual Rules,
             and are not to modify or delay the conduct of discovery or the schedules provided
             in this Case Management Plan except upon leave of the Court.

SO ORDERED.



Dated: Brooklyn, New York
       January , 2023

                                                                U.S.D.J.




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                                   ATTACHMENT A

The Parties are to list the discovery activities (i.e., production of documents, number of
depositions, requests to admit, interrogatories) and anticipated completion dates:

        DISCOVERY ACTIVITIES                               COMPLETION DATE
 1. Requests for production of documents         First Requests for Production of documents
                                                 be served on or before 2/1/2023 and
                                                 responded to on or before 3/1/2023.




 2. Interrogatories                              First Interrogatories be served on or before
                                                 2/1/2023 and responded to on or before
                                                 3/1/2023.




 Good Faith Meet and Confer                      7he parties meet and confer, if necessary,
                                                 regarding the responses to interrogatories
                                                 and document requests on or before
                                                 3/15/2023.




 Amendment of Responses to                       Amended Responses to Interrogatories and
 Interrogatories and/or Document                 Document Requests be served, if necessary,
 Requests, as necessary                          on or before 4/1/2023.




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Deadline to raise discovery issues with the       'iscovery disputes concerning compliance
Court Regarding Initial Discovery                 with First Interrogatories and Requests for
Requests                                          Production of Documents be raised with the
                                                  Court or before 4/15/2023.




3. Requests to admit, Supplemental                8/1/2023.
Requests for Production of Documents
and Supplemental Interrogatories




4. Depositions                                    9/30/2023 for the completion of all
                                                  depositions.




5.



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7.



8.



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